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                        THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO




  FAUSTINO XAVIER BETANCOURT-COLÓN,
      Plaintiffs,                                       Civil No. 3:23-CV-01288 (ADC)

        v.

  RESTAURANTE KING CHINA CORP,
      Defendants.



                                         JUDGMENT

      The Court, through the Honorable Aida M. Delgado-Colón, U.S. District Judge, issued an

Order on July 29, 2024, at docket 34.

      Therefore, pursuant to the Court’s Order, Judgment is hereby DISMISSING this case

WITH PREJUDICE and without the imposition of special costs and attorney’s fees.

      IT IS SO ORDERED AND ADJUDGED.

      In San Juan, Puerto Rico, on this 29th day of July, 2024.



                                                  ADA I. GARCIA-RIVERA, ESQ., CPA
                                                  Clerk of the Court

                                                  By: S/Glorimar Rivera
                                                      Glorimar Rivera, Deputy Clerk
